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                                                                          7                          IN THE UNITED STATES DISTRICT COURT
                                                                          8                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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United States District Court




                                                                         11    BOYD REAL PROPERTY, LLC,
                               For the Northern District of California




                                                                         12                            Plaintiff,                 NO. C10-3142 TEH
                                                                         13                    v.                                 ORDER DISMISSING CASE
                                                                         14    THE MARIO JUAREZ SELLING
                                                                               TEAM, et al.,
                                                                         15
                                                                                                       Defendants.
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                                                                         18          On September 10, 2010, this Court ordered Plaintiff to show cause as to why the
                                                                         19 Court has jurisdiction over this case given pending related proceedings in other courts.
                                                                         20 Plaintiff submitted a timely response to the order to show cause, followed by a timely
                                                                         21 opposition by Defendants and a timely reply by Plaintiff. After having carefully reviewed
                                                                         22 the parties’ arguments, the record in this case, and governing law, the Court concludes that it
                                                                         23 must decline to exercise jurisdiction over this case for the reasons discussed below.
                                                                         24          As an initial matter, the parties do not now dispute that diversity jurisdiction exists in
                                                                         25 this case. Defendants initially filed a motion to remand based on lack of diversity of
                                                                         26 citizenship, but that motion was never re-noticed after this matter was reassigned to this
                                                                         27 Court. In addition, upon the Court’s own initial review of the record, it appears that the
                                                                         28 requirements for diversity jurisdiction are satisfied.
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                                                                          1          That conclusion, however, does not end the Court’s jurisdictional inquiry given the
                                                                          2 ongoing state court proceedings concerning the property at the heart of this case. Plaintiff
                                                                          3 concedes that the subject property in this case is the same as the subject property in an earlier
                                                                          4 unlawful detainer action filed by Plaintiff in state court. In that state action, Plaintiff has
                                                                          5 appealed “the Order Granting Summary Judgment to Dismissed Party Mario Juarez dated
                                                                          6 July 2, 2010, and the Order of the Court to Recall and Quash Write [sic] of Possession and
                                                                          7 Order Recalling Writ dated July 9, 2010.” Ex. 2 to Defs.’ Req. for Judicial Notice. Plaintiff
                                                                          8 asserts that these appeals have no ability to disturb or alter the judgment, but Plaintiff has not
                                                                          9 persuaded the Court to reject the general rule that post-judgment appeals render a proceeding
                                                                         10 ongoing.
United States District Court




                                                                         11          Moreover, an unlawful detainer action is quasi in rem. Scherbenske v. Wachovia
                               For the Northern District of California




                                                                         12 Mortg., FSB, 626 F. Supp. 2d 1052, 1057 (E.D. Cal. 2009). As a result, and because the
                                                                         13 state-court proceedings were initiated before this federal case was filed, exclusive
                                                                         14 jurisdiction over the subject property lies with the state court. Id. at 1057-58 (citing
                                                                         15 Colorado River Water Conservation Dist. v. United States, 424 U.S. 800 (1976), Princess
                                                                         16 Lida of Thurn & Taxis v. Thompson, 305 U.S. 456 (1939), and 40235 Washington St. Corp.
                                                                         17 v. Lusardi, 976 F.2d 587 (9th Cir. 1992)). It “is no mere discretionary abstention rule” that
                                                                         18 the first court to take possession or obtain jurisdiction over property exercises exclusive
                                                                         19 jurisdiction over that property; “it is a mandatory jurisdictional limitation.” State Eng’r v. S.
                                                                         20 Fork Band of Te-Moak Tribe of W. Shoshone Indians of Nev., 339 F.3d 804, 809-10 (9th Cir.
                                                                         21 2003). Although Plaintiff’s reply argued in the most general terms that Colorado River
                                                                         22 abstention should be invoked only in exceptional circumstances, it failed to address the
                                                                         23 exclusive jurisdiction argument raised by Defendants concerning in rem or quasi in rem
                                                                         24 actions. In the absence of any such argument, and in light of the precedent cited above, this
                                                                         25 Court concludes that the ongoing, earlier-filed proceeding in state court deprives this Court
                                                                         26 of jurisdiction over the property at issue, as well as over all related state claims, and
                                                                         27 dismissal is therefore proper. Scherbenske v. Wachovia Mortg., FSB, Case No. Civ.
                                                                         28 S-09-0717 LKK/KJM, 2009 U.S. Dist. LEXIS 50081, at *1 (E.D. Cal. June 15, 2009).

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                                                                          1         Accordingly, with good cause appearing, this case is DISMISSED without prejudice
                                                                          2 for lack of jurisdiction. The Clerk shall vacate all pending motions and deadlines and close
                                                                          3 the file.
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                                                                          5 IT IS SO ORDERED.
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                                                                          7 Dated: 11/08/10
                                                                                                               THELTON E. HENDERSON, JUDGE
                                                                          8                                    UNITED STATES DISTRICT COURT
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United States District Court




                                                                         11
                               For the Northern District of California




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